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                                                       4
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                                                       5   ARIE VAN NIEUWENHUYZEN,
                                                           THE CALGUNS FOUNDATION,
                                                       6   FIREARMS POLICY COALITION,
                                                       7
                                                           FIREARMS POLICY FOUNDATION,
                                                           SECOND AMENDMENT FOUNDATION, and
                                                       8   MADISON SOCIETY FOUNDATION

                                                       9
                                                      10                           UNITED STATES DISTRICT COURT
SEILER EPSTEIN ZIEGLER & APPLEGATE LLP




                                                      11
                                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                          EASTERN DIVISION
                                                      12
                                                      13   ARIE VAN NIEUWENHUYZEN, an                        Case No. 5:18-cv-02225
                                                      14   individual, et al.,
                                  Attorneys at Law




                                                                                                             NOTICE OF SETTLEMENT OF CASE
                                                      15
                                                                    Plaintiffs,
                                                      16
                                                                                  vs.
                                                      17
                                                      18   STANLEY SNIFF, in his capacity as
                                                      19   Sheriff of the County of Riverside, et al.,

                                                      20            Defendants.
                                                      21
                                                      22
                                                                 TO THE COURT, AND TO ALL PARTIES THROUGH THEIR
                                                      23
                                                           COUNSEL OF RECORD:
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                                                                 PLEASE TAKE NOTICE that this matter has settled pursuant to a
                                                      25
                                                           settlement agreement reached between all parties. The parties have specifically
                                                      26
                                                           agreed to the form of a written Settlement Agreement that was circulated on March
                                                      27
                                                           11, 2019 and which was signed by all plaintiffs. Counsel for defendants has
                                                      28
                                                           confirmed in writing that all defendants are agreeable to the Settlement Agreement,

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                                                                                        NOTICE OF SETTLEMENT OF CASE
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                                                       1   and that the parties are now simply awaiting the receipt of defense signatures on
                                                       2   the same. The Settlement Agreement provides for, inter alia, a stipulation to the
                                                       3   entry of permanent injunctive relief against defendants, which stipulation will be
                                                       4   filed as soon as the Settlement Agreement has been fully executed and received.
                                                       5   Plaintiffs will thereafter request entry of judgment based upon the stipulation.
                                                       6         Accordingly, the parties respectfully request that all scheduled hearings be
                                                       7   taken off calendar. The next scheduled hearing is for plaintiffs’ motion for
                                                       8   preliminary injunction (Doc. #21) presently scheduled for April 1, 2019 at 10:00
                                                       9   a.m. before this Court.
                                                      10         Plaintiffs respectfully request that this action be placed on the Court’s
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                                                      11   calendar for review in approximately 30 days, or as soon thereafter as it may please
                                                      12   the Court.
                                                      13
                                                      14   Dated: March 29, 2019               SEILER EPSTEIN ZIEGLER & APPLEGATE LLP
                                  Attorneys at Law




                                                      15
                                                      16                                       /s/ George M. Lee                       ______
                                                                                               George M. Lee
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                                                                                               Attorney for Plaintiffs
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                                                                                       NOTICE OF SETTLEMENT OF CASE
